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         UNITED STATES DISTRICT COURT
   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                          No. 2:20-cv-966


    DONALD J. TRUMP FOR PRESIDENT, INC., et al.,

                                            Plaintiffs

                                 v.

    KATHY BOOCKVAR, in her capacity as Secretary of the
    Commonwealth of Pennsylvania, et al.,

                                            Defendants.


          ORDER ENTERING FINAL JUDGMENT


           AND NOW, this 10th day of October, 2020, upon
    consideration of Plaintiffs’ Motion for Summary Judgment
    [ECF 503] and Defendants’ and Intervenors’ Cross-Motions
    for Summary Judgment [ECF 506, 512, 515, 517, 519, 521,
    523, 527, 530, 533, 535, 536, 537, 538, 539], and the related
    briefs and exhibits, it is hereby ORDERED that Plaintiffs’
    Motion is DENIED, and Defendants’ and Intervenors’
    Cross-Motions are GRANTED for the reasons stated in the
    accompanying opinion.

          It is FURTHER ORDERED that judgment is
    entered in favor of Defendants and against Plaintiffs on
    Counts I and II of the Second Amended Complaint, as well
    as on the aspects of Count IV that challenge the county-
    residency requirement for poll watchers. Those are
    dismissed with prejudice. Plaintiffs are deemed to have

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    withdrawn Counts VIII and IX, and thus judgment is
    entered in favor of Defendants and against Plaintiffs on
    those counts, and those counts are dismissed with
    prejudice.

           The Court previously abstained from adjudicating
    Counts VI and VII. Those counts, as well as any related
    averments as to the scope of duties of, and polling-place
    restrictions on, poll watchers asserted in aspects of Count
    IV, are now dismissed without prejudice.

           The remaining counts are state-law claims.
    Pursuant to 28 U.S.C. § 1367(c)(3), the Court declines to
    exercise supplemental jurisdiction over those counts, and
    dismisses Counts III and V without prejudice.

           Because the dismissal of certain counts without
    prejudice generally does not result in a final appealable
    judgment, pursuant to Federal Rule of Civil Procedure
    54(b), the Court finds expressly that there is no just reason
    for delay, and enters final judgment as to Counts I, II, IV,
    VIII, and IX.




                               BY THE COURT:


                               /s/ J. Nicholas Ranjan
                               United States District Judge




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